Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 1 of 25




                   ATTACHMENT
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 2 of 25


  473 F.3d 1295                                                                           Page 1
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




                                                  was pardoned was properly included in cal-
  U.S. v. Hall                                    culation of sentencing guidelines criminal
  C.A.10 (Colo.),2007.                            history score; and
                                                  (7) sentence was unreasonable.
  United States Court of Appeals,Tenth Cir-
                    cuit.                         Affirmed in part, reversed in part, and re-
   UNITED STATES of America, Plaintiff-           manded.
         Appellee/Cross-Appellant,
                      v.                                        West Headnotes
  Zebedee HALL, also known as “Zee,” also
                                                  [1] Criminal Law 110         622.7(4)
    known as “Zeke,” Defendant-Appel-
            lant/Cross-Appellee.                  110 Criminal Law
           Nos. 05-1205, 05-1251.                    110XX Trial
                                                        110XX(A) Preliminary Proceedings
                 Jan. 23, 2007.
                                                             110k622 Joint or Separate Trials
  Background: Defendant was convicted in          of Codefendants
  the United States District Court for the Dis-                110k622.7 Grounds for Sever-
  trict of Colorado, Wiley Y. Daniel, J., of      ance or Joinder
  conspiracy to distribute 50 or more grams                        110k622.7(4) k. Conspir-
  of crack cocaine and possession and distri-     acy Cases. Most Cited Cases
  bution of 50 or more grams of crack co-
                                                  Criminal Law 110         622.7(10)
  caine, and was sentenced to 151 months'
  imprisonment. Defendant appealed, and           110 Criminal Law
  government cross-appealed sentence.                 110XX Trial
                                                         110XX(A) Preliminary Proceedings
  Holdings: The Court of Appeals, Tacha,
                                                              110k622 Joint or Separate Trials
  Chief Circuit Judge, held that:
                                                  of Codefendants
  (1) district court did not abuse its discre-
                                                                 110k622.7 Grounds for Sever-
  tion in refusing to sever defendant's trial
                                                  ance or Joinder
  from that of codefendants;
                                                                    110k622.7(10) k. Availab-
  (2) district court did not abuse its discre-
                                                  ility of Codefendant's Testimony at Joint
  tion in refusing to question other jurors
                                                  Trial; Comment on Refusal to Testify.
  after one juror was excused;
                                                  Most Cited Cases
  (3) any prosecutorial misconduct in closing
                                                  In prosecution for possession and distribu-
  argument was not plain error;
                                                  tion and conspiracy to distribute crack co-
  (4) evidence was insufficient to support
                                                  caine, district court did not abuse its discre-
  conviction for possession and distribution
                                                  tion in refusing to sever defendant's trial
  of crack cocaine;
                                                  from that of codefendants; although de-
  (5) district court did not clearly err apply-
                                                  fendant provided affidavit from codefend-
  ing offense level enhancement for posses-
                                                  ant indicating he would be willing to testi-
  sion of a dangerous weapon in connection
                                                  fy to defendant's innocence if they were
  with offense;
                                                  tried separately, government's wiretap
  (6) prior conviction for which defendant
                                                  evidence would have directly contradicted




                © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 3 of 25
  473 F.3d 1295                                                                           Page 2
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  such testimony, and government could             110 Criminal Law
  have impeached codefendant with his ex-             110XVII Evidence
  tensive list of prior convictions, and joint               110XVII(K) Demonstrative Evid-
  trial was in interest of judicial economy be-    ence
  cause same witnesses and exhibits were ne-                 110k404.35 Particular Objects
  cessary in both trials. Fed.Rules                                 110k404.65 k. Weapons and
  Cr.Proc.Rules 8(b), 14, 18 U.S.C.A.              Related Objects. Most Cited Cases
                                                   In prosecution for possession and distribu-
  [2] Criminal Law 110         622.7(3)            tion and conspiracy to distribute crack co-
                                                   caine, district court did not abuse its discre-
  110 Criminal Law
                                                   tion in admitting, as tools of the drug trade,
      110XX Trial
                                                   shotgun found in car parked in yard of de-
         110XX(A) Preliminary Proceedings
                                                   fendant's residence and various ammuni-
              110k622 Joint or Separate Trials
                                                   tion found inside residence; although gun
  of Codefendants
                                                   was unloaded, ammunition found did not
                110k622.7 Grounds for Sever-
                                                   include shotgun shells, and there were no
  ance or Joinder
                                                   fingerprints on gun, gun was oiled and
                     110k622.7(3) k. Prejudice;
                                                   cleaned, it was sitting on top of other items
  Fair Trial. Most Cited Cases
                                                   in car and was easily accessible to defend-
  When defendants properly have been
                                                   ant by reaching through car's T-top roof,
  joined, a district court should grant a sever-
                                                   video surveillance and wiretaps revealed
  ance only if there is a serious risk that a
                                                   defendant frequently returned to his resid-
  joint trial would compromise a specific tri-
                                                   ence immediately after negotiating drug
  al right of one of the defendants, or prevent
                                                   transactions over the telephone, and police
  the jury from making a reliable judgment
                                                   also found scales containing cocaine
  about guilt or innocence. Fed.Rules
                                                   residue in residence. Fed.Rules Evid.Rule
  Cr.Proc.Rules 8(b), 14, 18 U.S.C.A.
                                                   403, 28 U.S.C.A.
  [3] Criminal Law 110         622.8(4)
                                                   [5] Controlled Substances 96H          33
  110 Criminal Law
                                                   96H Controlled Substances
     110XX Trial
                                                      96HII Offenses
         110XX(A) Preliminary Proceedings
                                                          96Hk32 Sale, Distribution, Delivery,
             110k622 Joint or Separate Trials
                                                   Transfer or Trafficking
  of Codefendants
                                                             96Hk33 k. In General. Most Cited
               110k622.8 Proceedings
                                                   Cases
                   110k622.8(4) k. Evidence.
                                                   Some items like firearms, large sums of
  Most Cited Cases
                                                   cash, weighing scales, and uncharged
  Inasmuch as severance is a matter of dis-
                                                   quantities of illegal drugs are generally
  cretion and not of right, the defendant must
                                                   viewed as tools of the trade, that is, means
  bear a heavy burden of showing real preju-
                                                   for the distribution of illegal drugs; as
  dice to his case. Fed.Rules Cr.Proc.Rule
                                                   such, these items are probative of a defend-
  14, 18 U.S.C.A.
                                                   ant's participation in the drug distribution
  [4] Criminal Law 110         404.65              business.
                                                   [6] Criminal Law 110         868




                © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 4 of 25
  473 F.3d 1295                                                                          Page 3
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  110 Criminal Law                                  that those further along could provide
     110XX Trial                                    funds allowing leader to front drugs to new
            110XX(J) Issues Relating to Jury        distributors. Comprehensive Drug Abuse
  Trial                                             Prevention and Control Act of 1970, §§
               110k868 k. Objections and Dis-       401(a)(1), (b)(1)(A)(iii), 406, 21 U.S.C.A.
  position Thereof. Most Cited Cases                §§ 841(a)(1), (b)(1)(A)(iii), 846.
  In prosecution for possession and distribu-
  tion and conspiracy to distribute crack co-       [8] Conspiracy 91      43(12)
  caine, district court did not abuse its discre-
                                                    91 Conspiracy
  tion in refusing defense counsel's request to
                                                       91II Criminal Responsibility
  question other jurors after one juror was
                                                          91II(B) Prosecution
  excused after she revealed to court that she
                                                             91k43 Indictment or Information
  heard defense counsel talking to defendant
                                                                   91k43(12) k. Issues, Proof,
  about gun being found after search for
                                                    and Variance. Most Cited Cases
  drugs; excused juror said she told other jur-
                                                    A “variance” occurs when the conspiracy
  ors about overhearing the conversation, but
                                                    charged in an indictment is different from
  said she did not tell other jurors the sub-
                                                    the evidence adduced at trial.
  stance of the conversation, and there was
  no evidence that any prejudicial informa-         [9] Criminal Law 110       1167(1)
  tion reached remainder of jury.
                                                    110 Criminal Law
  [7] Conspiracy 91        43(12)                       110XXIV Review
                                                            110XXIV(Q) Harmless and Revers-
  91 Conspiracy
                                                    ible Error
      91II Criminal Responsibility
                                                                 110k1167 Rulings as to Indict-
         91II(B) Prosecution
                                                    ment or Pleas
            91k43 Indictment or Information
                                                                   110k1167(1) k. Indictment or
                  91k43(12) k. Issues, Proof,
                                                    Information in General. Most Cited Cases
  and Variance. Most Cited Cases
                                                    Not every variance requires reversal of a
  Even if variance between evidence and
                                                    conviction; a variance is only reversible if
  government's theory of the conspiracy,
                                                    it affects the substantial rights of the ac-
  which was not contained in indictment,
                                                    cused.
  could be basis for reversal of conviction,
  there was no such variance in defendant's         [10] Criminal Law 110        1037.1(2)
  prosecution for conspiracy to distribute
  crack cocaine; prosecutor's theory was that       110 Criminal Law
  leader of conspiracy fronted drugs to newly          110XXIV Review
  released felons for sale and later reim-                   110XXIV(E) Presentation and Re-
  bursement to leader, until those distributors     servation in Lower Court of Grounds of
  became profitable enough to pay for drugs         Review
  in advance, and defendant was not newly                     110XXIV(E)1 In General
  released from prison and did not need lead-                       110k1037 Arguments and
  er to front him drugs, but government also        Conduct of Counsel
  theorized that the conspiracy depended on                        110k1037.1 In General
  distributors being at different stages, so                          110k1037.1(2) k. Partic-




                 © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 5 of 25
  473 F.3d 1295                                                                           Page 4
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  ular Statements, Arguments, and Com-            justice, as required to establish plain error;
  ments. Most Cited Cases                         it was clear that prosecutor was entreating
  In prosecution of defendant and codefend-       jury not to acquit defendant on conspiracy
  ants for possession and distribution and        charge merely because police failed to re-
  conspiracy to distribute crack cocaine, any     cover drugs from his house.
  closing-argument misconduct by prosec-
  utor in translating code words used during      [12] Controlled Substances 96H           80
  recorded drug transactions among cocon-
                                                  96H Controlled Substances
  spirators was not egregious misconduct
                                                     96HIII Prosecutions
  resulting in a miscarriage of justice, as re-
                                                         96Hk70 Weight and Sufficiency of
  quired to establish plain error; although
                                                  Evidence
  witnesses who testified as to meaning of
                                                            96Hk80 k. Possessory Offenses.
  code words did not do so in context of de-
                                                  Most Cited Cases
  fendant's conversations, prosecutor's re-
  marks about code words were in general          Controlled Substances 96H          82
  reference to terminology common to some
  of the conversations among coconspirators,      96H Controlled Substances
  rather than in reference to specific recorded       96HIII Prosecutions
  conversations in which defendant particip-              96Hk70 Weight and Sufficiency of
  ated.                                           Evidence
                                                            96Hk82 k. Sale, Distribution, De-
  [11] Criminal Law 110        1037.1(2)          livery, Transfer or Trafficking. Most Cited
                                                  Cases
  110 Criminal Law
                                                  Evidence was insufficient to establish that
     110XXIV Review
                                                  defendant possessed crack cocaine on or
           110XXIV(E) Presentation and Re-
                                                  about date charged, as element of offense
  servation in Lower Court of Grounds of
                                                  of possession and distribution of crack co-
  Review
                                                  caine; although government introduced
            110XXIV(E)1 In General
                                                  transcripts of three conversations recorded
                   110k1037 Arguments and
                                                  on charged date and previous day in which
  Conduct of Counsel
                                                  defendant and alleged drug supplier dis-
                 110k1037.1 In General
                                                  cussed price of drugs and agreed on price,
                     110k1037.1(2) k. Partic-
                                                  video surveillance on charged date showed
  ular Statements, Arguments, and Com-
                                                  man identified as defendant by police of-
  ments. Most Cited Cases
                                                  ficer briefly entering supplier's car, and
  In prosecution of defendant and codefend-
                                                  there was evidence that defendant pos-
  ants for possession and distribution and
                                                  sessed crack at other times, there was no
  conspiracy to distribute crack cocaine, any
                                                  eyewitness testimony or video evidence
  misconduct by prosecutor in stating in
                                                  putting defendant in possession of crack on
  closing argument that there was not a big
                                                  or about charged date, and no testimony
  amount of dope found at defendant's house,
                                                  from anyone claiming to have bought crack
  when in fact no drugs were found at de-
                                                  from him on or about that date. Compre-
  fendant's residence, other than cocaine
                                                  hensive Drug Abuse Prevention and Con-
  residue on scales, was not egregious mis-
                                                  trol Act of 1970, § 401(a)(1), (b)(1)(A)(iii),
  conduct resulting in a miscarriage of
                                                  21 U.S.C.A. § 841(a)(1), (b)(1)(A)(iii).




                © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 6 of 25
  473 F.3d 1295                                                                       Page 5
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  [13] Criminal Law 110        1134.75           um sentence applicable to defendant. Com-
                                                 prehensive Drug Abuse Prevention and
  110 Criminal Law                               Control Act of 1970, § 411(a)(1), 21
     110XXIV Review                              U.S.C.A. § 851(a)(1).
          110XXIV(L) Scope of Review in
  General                                        [15] Jury 230     34(8)
           110XXIV(L)8 Sentencing
                 110k1134.75 k. In General.      230 Jury
  Most Cited Cases                                  230II Right to Trial by Jury
     (Formerly 110k1147)                                   230k30 Denial or Infringement of
                                                 Right
  Sentencing and Punishment 350H          30                230k34 Restriction or Invasion of
                                                 Functions of Jury
  350H Sentencing and Punishment                               230k34(5) Sentencing Matters
     350HI Punishment in General                                      230k34(8) k. Drug Of-
          350HI(B) Extent of Punishment in       fenses. Most Cited Cases
  General                                        Enhancement of defendant's sentencing
                350Hk30 k. In General. Most      guidelines range in his sentencing for pos-
  Cited Cases                                    session and distribution and conspiracy to
  The court of appeals reviews sentences im-     distribute crack cocaine based on district
  posed for reasonableness; the court re-        court's findings as to drug quantity and de-
  quires reasonableness in two respects: the     fendant's possession of a dangerous
  length of the sentence, as well as the meth-   weapon did not violate defendant's Sixth
  od by which the sentence was calculated.       Amendment right to trial by jury, since
                                                 court applied the guidelines as advisory
  [14] Sentencing and Punishment 350H
                                                 rather     than     mandatory.     U.S.C.A.
      1365
                                                 Const.Amend. 6; U.S.S.G. § 2D1.1(b)(1),
  350H Sentencing and Punishment                 (c)(3), 18 U.S.C.A.
      350HVI Habitual and Career Offenders
                                                 [16] Jury 230     34(6)
         350HVI(K) Proceedings
             350Hk1363 Recidivist or Habitu-     230 Jury
  al Offender Charge                                230II Right to Trial by Jury
                   350Hk1365 k. Necessity of               230k30 Denial or Infringement of
  Special Allegations or Charges. Most Cited     Right
  Cases                                                     230k34 Restriction or Invasion of
  Statute requiring government to file in-       Functions of Jury
  formation when seeking to enhance a de-                      230k34(5) Sentencing Matters
  fendant's punishment for drug offense                              230k34(6) k. In General.
  based on prior convictions did not apply       Most Cited Cases
  with respect to government's request for       After decision in United States v. Booker
  enhancement of defendant's sentencing          making sentencing guidelines advisory, a
  guidelines sentence for possession and dis-    constitutional violation lies only where a
  tribution and conspiracy to distribute crack   district court uses judge-found facts to en-
  cocaine, since those enhancements had no       hance a defendant's sentence mandatorily
  effect on the statutory maximum or minim-      under the guidelines, and not where a court




                © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 7 of 25
  473 F.3d 1295                                                                       Page 6
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  merely applies such facts in a discretionary    350H Sentencing and Punishment
  manner. U.S.C.A. Const.Amend. 6;                   350HIV Sentencing Guidelines
  U.S.S.G. § 1B1.1 et seq., 18 U.S.C.A.                 350HIV(H) Proceedings
                                                           350HIV(H)2 Evidence
  [17] Sentencing and Punishment 350H                         350Hk963 k. Burden of Proof.
      726(3)                                      Most Cited Cases
  350H Sentencing and Punishment                  Sentencing and Punishment 350H
      350HIV Sentencing Guidelines                973.5
         350HIV(B) Offense Levels
              350HIV(B)3 Factors Applicable       350H Sentencing and Punishment
  to Several Offenses                                350HIV Sentencing Guidelines
                        350Hk726 Dangerous              350HIV(H) Proceedings
  Weapons or Destructive Devices                            350HIV(H)2 Evidence
                  350Hk726(3) k. Possession                    350Hk973 Degree of Proof
  and Carrying. Most Cited Cases                                    350Hk973.5 k. Factors En-
  In sentencing defendant for possession and      hancing Sentence. Most Cited Cases
  distribution and conspiracy to distribute          (Formerly 350Hk973)
  crack cocaine, district court did not clearly   In applying the sentencing guidelines of-
  err in applying sentencing guidelines of-       fense level enhancement for possession of
  fense level enhancement for possession of       a dangerous weapon in connection with a
  a dangerous weapon in connection with of-       drug trafficking offense, the government
  fense; shotgun was found in car parked          bears the initial burden of proving posses-
  right outside door of defendant's residence,    sion of the weapon by a preponderance of
  gun was easily accessible to defendant by       the evidence; this burden is satisfied when
  reaching through car's T-top roof, and po-      the government demonstrates that a tem-
  lice also found scales containing cocaine       poral and spatial relation existed between
  residue in residence. U.S.S.G. §                the weapon, the drug trafficking activity,
  2D1.1(b)(1), 18 U.S.C.A.                        and the defendant. U.S.S.G. § 2D1.1(b)(1),
                                                  18 U.S.C.A.
  [18] Sentencing and Punishment 350H
      726(3)                                      [19] Sentencing and Punishment 350H
                                                      963
  350H Sentencing and Punishment
     350HIV Sentencing Guidelines                 350H Sentencing and Punishment
        350HIV(B) Offense Levels                     350HIV Sentencing Guidelines
             350HIV(B)3 Factors Applicable              350HIV(H) Proceedings
  to Several Offenses                                      350HIV(H)2 Evidence
                      350Hk726 Dangerous                      350Hk963 k. Burden of Proof.
  Weapons or Destructive Devices                  Most Cited Cases
                  350Hk726(3) k. Possession       For purposes of applying the sentencing
  and Carrying. Most Cited Cases                  guidelines offense level enhancement for
                                                  possession of a dangerous weapon in con-
  Sentencing and Punishment 350H                  nection with a drug trafficking offense, if
  963                                             the government meets its initial burden of
                                                  proving possession of the weapon by a pre-




                © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 8 of 25
  473 F.3d 1295                                                                       Page 7
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  ponderance of the evidence, the burden         683
  shifts to the defendant to show that it is
  clearly improbable the weapon was con-         350H Sentencing and Punishment
  nected with the offense. U.S.S.G. §               350HIV Sentencing Guidelines
  2D1.1(b)(1), 18 U.S.C.A.                             350HIV(B) Offense Levels
                                                             350HIV(B)2 Factors Peculiar to
  [20] Sentencing and Punishment 350H            Particular Offenses
      799                                                      350Hk683 k. Conspiracy and
                                                 Racketeering. Most Cited Cases
  350H Sentencing and Punishment
      350HIV Sentencing Guidelines               Sentencing and Punishment 350H
         350HIV(E) Prior or Subsequent Mis-      686
  conduct
                 350Hk799 k. Effect of Sub-      350H Sentencing and Punishment
  sequent Circumstances. Most Cited Cases           350HIV Sentencing Guidelines
  In defendant's sentencing for possession              350HIV(B) Offense Levels
  and distribution and conspiracy to distrib-                350HIV(B)2 Factors Peculiar to
  ute crack cocaine, defendant's prior convic-   Particular Offenses
  tion under Louisiana law for felony armed                    350Hk686 k. Drugs and Nar-
  robbery, and his later conviction for being    cotics. Most Cited Cases
  a felon in possession of a firearm based on
                                                 Sentencing and Punishment 350H
  robbery conviction, were properly included
                                                 779
  in calculation of defendant's sentencing
  guidelines criminal history score, even        350H Sentencing and Punishment
  though defendant was pardoned for rob-            350HIV Sentencing Guidelines
  bery offense by operation of Louisiana                350HIV(E) Prior or Subsequent Mis-
  statute mandating pardons for first offend-    conduct
  ers upon completion of sentence; there was                 350Hk779 k. In General. Most
  nothing to suggest that pardon was related     Cited Cases
  to defendant's innocence or an error of law,   Defendant's below-Guidelines 151-month
  and, under Louisiana law, it did not restore   sentence for possession and distribution
  defendant's right to possess firearms.         and conspiracy to distribute crack cocaine
  U.S.S.G. § 4A1.2(j), 18 U.S.C.A.; LSA-         was unreasonable by virtue of district
  R.S. 15:572.                                   court's incorrect calculation of applicable
                                                 advisory sentencing guidelines range; after
  [21] Sentencing and Punishment 350H
                                                 calculating applicable guidelines range of
      645
                                                 235-293 months, court decided to reduce
  350H Sentencing and Punishment                 defendant's criminal history category from
      350HIII Sentence on Conviction of Dif-     three to one, so that defendant's guidelines
  ferent Charges                                 range would be lower than those of code-
         350HIII(D) Disposition                  fendants with more serious criminal re-
                350Hk645 k. Total Sentence       cords, and court concluded that resulting
  Deemed Not Excessive. Most Cited Cases         guidelines range was 151-188 months, but
                                                 correct range for defendant's offense with
                                                 criminal history category of one was




                © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 9 of 25
  473 F.3d 1295                                                                         Page 8
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  188-235 months. 18 U.S.C.A. § 3553(a).                  34.1(G). The case is therefore
                                                          ordered submitted without oral ar-
  [22] Sentencing and Punishment 350H                     gument.
      34
                                                   Stephen M. Wheeler, Wheeler Law Of-
  350H Sentencing and Punishment                   fices, PC, Evergreen, CO, for Appellant/
     350HI Punishment in General                   Cross-Appellee.
          350HI(B) Extent of Punishment in         William J. Leone, United States Attorney,
  General                                          Kathleen M. Tafoya, Assistant United
               350Hk33 Effect of Statute or        States Attorney, and James C. Murphy, As-
  Regulatory Provision                             sistant United States Attorney, Office of
                350Hk34 k. In General. Most        the United States Attorney for the District
  Cited Cases                                      of Colorado, Denver, CO, for Appellee/
  Procedural error in application of statutory     Cross-Appellant.
  sentencing factors renders resulting sen-
  tence unreasonable. 18 U.S.C.A. § 3553(a).       Before TACHA, Chief Circuit Judge,
                                                   BARRETT, and O'BRIEN, Circuit Judges.
  [23] Sentencing and Punishment 350H
      34
                                                   TACHA, Chief Circuit Judge.
  350H Sentencing and Punishment                   Following a jury trial, Defendant-Appellant
     350HI Punishment in General                   Zebedee Hall was found guilty of one
           350HI(B) Extent of Punishment in        count of conspiracy to distribute fifty or
  General                                          more grams of crack-cocaine and aiding
                 350Hk33 Effect of Statute or      and abetting the same, see21 U.S.C. §§
  Regulatory Provision                             841(a)(1), (b)(1)(A)(iii), 846, and 18
                 350Hk34 k. In General. Most       U.S.C. § 2, and one count of possession
  Cited Cases                                      and distribution of fifty or more grams of
  District court's failure to consider a defend-   crack-cocaine and aiding and abetting the
  ant's non-frivolous argument that variance       same, see21 U.S.C. § 841(a)(1),
  from Sentencing Guidelines is warranted          (b)(1)(A)(iii) and 18 U.S.C. § 2. The Dis-
  under statutory sentencing factors renders       trict Court sentenced him to 151 months'
  the sentence procedurally unreasonable           *1300 imprisonment. Mr. Hall now appeals
  such that resentencing is required. 18           his convictions and sentence on a variety of
  U.S.C.A. § 3553(a).                              grounds, and the Government cross-ap-
                                                   peals Mr. Hall's sentence. We have juris-
  *1299 Submitted on the briefs: FN*               diction under 28 U.S.C. § 1291, and AF-
  Zebedee Hall, pro se.                            FIRM in part, REVERSE in part, and RE-
                                                   MAND for resentencing.
         FN* After examining the briefs and
         the appellate record, this three-
         judge panel has determined unanim-                   I. BACKGROUND
         ously that oral argument would not
         be of material assistance in the de-      In September 2000, after receiving a tip
         termination of this appeal. See Fed.      about a large scale crack-cocaine operation
         R.App. P. 34(a)(2); 10th Cir. R.          headed by Willie Small, the FBI Metro
                                                   Gang Task Force (“Task Force”) began an




                © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 10 of 25
  473 F.3d 1295                                                                          Page 9
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  investigation. The Task Force worked with          ciety. Once they had sold that original
  an informant who made multiple controlled          amount of crack cocaine and re-paid the
  purchases of crack-cocaine from Mr. Small          original purchase price, they could re-
  and his associates while wearing a wire. It        ceive more crack cocaine, again on con-
  also used visual surveillance, video camer-        signment, and re-sell that to make anoth-
  as, pen registers, and trap-and-trace devices      er profit. Eventually, it was the goal of
  to investigate Mr. Small's organization.           the conspiracy that the re-developed dis-
  The task force then filed an exhaustive            tributor would become profitable enough
  100-page summary of the investigation in           to pay for crack cocaine in advance in
  federal district court seeking authorization       ever-enlarging amounts, thus enabling
  to place a wiretap on Mr. Small's cellular         Small to begin the process again with an-
  and home phones. The court granted the             other newly released felon. The conspir-
  authorization. The wiretaps were used to           acy depended upon the distributor felons
  collect additional information about the op-       being at different stages in the process of
  eration over the course of several months.         re-establishing their illegal businesses in
                                                     order to provide funds to be able to
  On June 7, 2001, the FBI simultaneously            “stake” a new member to crack cocaine
  executed numerous search and arrest war-           in the beginning. One of the major reas-
  rants against suspected members of the             ons for making up his organization of
  drug conspiracy. Mr. Hall was one of the           convicted felons was Small's comfort
  twenty-seven       defendants        ultimately    level in dealing with people he felt relat-
  charged in a seventy-seven count second            ively certain would not inform to police,
  superceding indictment that was centered           even if caught with controlled sub-
  around the large crack-cocaine distribution        stances. This structure gave a measure of
  conspiracy headed by Mr. Small. Eighteen           comfort to all the members of the con-
  defendants pleaded guilty to various               spiracy, also.
  charges, and Mr. Hall and six others were
  tried together in a jury trial that lasted from   The jury found Mr. Hall and his co-
  September 22, 2003, to November 13,               defendants guilty of various drug offenses.
  2003. The Government summarized its the-          This court upheld the convictions and sen-
  ory of the conspiracy as follows:                 tences of Mr. Hall's co-defendants in
                                                    *1301United States v. Small, 423 F.3d
    The conspiratorial organization followed        1164 (10th Cir.2005). We now consider
    a pattern typically referred to as a “hub       Mr. Hall's appeal.
    and spokes” conspiracy. Willie Small
    was at the center of the conspiracy whose
    objective was to distribute crack cocaine                   II. DISCUSSION
    for money. Willie Small had set up an en-
    terprise dedicated to giving convicted          A. Pretrial Motions
    felons an opportunity to get back into the
    business of crack distribution upon their       1. Motion to suppress wiretap evidence.
    release from prison. Small would “front”,
    or give on consignment without payment
                                                    Prior to trial, Mr. Hall and his co-
    of money, crack cocaine to various con-
                                                    defendants moved to suppress the Govern-
    victed felons as they were re-entering so-
                                                    ment's wiretap evidence, arguing that inac-




                 © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 11 of 25
  473 F.3d 1295                                                                        Page 10
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  curate and misleading statements in the ap-     that of his co-defendants.
  plication and supporting testimony tainted      [1] Mr. Hall moved to sever his trial from
  the findings of the judge who approved the      that of his co-defendants, arguing that a
  wiretap. Indeed, a defendant may challenge      joint trial would be prejudicial because he
  a facially sufficient affidavit on the ground   would suffer from the spillover effect of
  that the police included deliberate or reck-    evidence against his co-defendants, see Za-
  less falsehoods that were material to the       firo v. United States, 506 U.S. 534, 539,
  district court's finding that the wiretaps      113 S.Ct. 933, 122 L.Ed.2d 317 (1993)
  were necessary. Small, 423 F.3d at 1172         (noting that prejudice may arise where
  (citing Franks v. Delaware, 438 U.S. 154,       evidence of a co-defendant's wrongdoing
  155-56, 98 S.Ct. 2674, 57 L.Ed.2d 667           erroneously leads a jury to conclude that
  (1978)). The District Court held a five-day     the defendant is guilty), and in order to al-
  hearing to determine the propriety of sup-      low him to present exculpatory testimony
  pressing the wiretap evidence. Based on         that he could not present in a joint trial.
  the testimony and evidence presented, the       With respect to the latter contention, Mr.
  District Court denied the defendants' mo-       Hall provided an affidavit from Mr. Small,
  tion, concluding that the allegedly false       one of his co-defendants, indicating that he
  statements were either not inaccurate or        would be willing to testify to Mr. Hall's in-
  were not made intentionally or with reck-       nocence if they were tried separately. After
  less disregard for the truth. The court also    a hearing, the District Court denied the mo-
  concluded that the statements were not ma-      tion. Mr. Hall argues that this decision was
  terial to the issuing court's finding of ne-    error. Mr. Hall no longer argues that he
  cessity.                                        was prejudiced by any spillover evidence
                                                  entered against his co-defendants. Rather,
  Mr. Hall raises challenges identical to         on appeal, he argues only that the District
  those raised by his co-defendants in Small.     Court's refusal to sever his trial prevented
  We concluded that the District Court did        him from presenting exculpatory testimony
  not err in denying the motion to suppress.      from Mr. Small-specifically, that Mr.
   See Small, 423 F.3d at 1172-78. Mr. Hall       Small never sold drugs to Mr. Hall.
  concedes that this ruling controls his case.
  Accordingly, we need not repeat that ana-       [2][3] Multiple defendants may be tried
  lysis here.FN1                                  jointly “if they are alleged to have particip-
                                                  ated in the same act or transaction, or in the
         FN1. In his reply brief, Mr. Hall        same series of acts or transactions, consti-
         raises a new challenge to the admis-     tuting an offense or offenses.”
         sion of the wiretap evidence-            Fed.R.Crim.P. 8(b). Joint trials of defend-
         namely, that the wiretap was not         ants who are indicted together are preferred
         conducted with minimal intercep-         because “[t]hey promote efficiency and
         tion of non-criminal activities. We      serve the interests of justice by avoiding
         decline to address this argument         the scandal and inequity of inconsistent
         raised for the first time in a reply     verdicts.” *1302Zafiro, 506 U.S. at 537,
         brief. See United States v. Murray,      113 S.Ct. 933 (internal quotation marks
         82 F.3d 361, 363 n. 3 (10th              omitted). If joinder “appears to prejudice a
         Cir.1996).                               defendant[,] [however,] ... the court may
                                                  order separate trials of counts, sever the de-
  2. Motion to sever Mr. Hall's trial from




                © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 12 of 25
  473 F.3d 1295                                                                          Page 11
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  fendants' trials, or provide any other relief     sumed that it was likely that Mr. Small
  that justice requires.” Fed.R.Crim.P. 14(a)       would waive his Fifth Amendment priv-
  (emphasis added). We review the district          ilege and testify and that the nature of the
  court's denial of a motion to sever for an        testimony would be exculpatory. However,
  abuse of discretion. United States v. Ap-         the court noted that Mr. Small's testimony
  person, 441 F.3d 1162, 1190 (10th                 “completely lacks any substance or credib-
  Cir.2006). “[W]hen defendants properly            ility,” because the wiretap evidence dir-
  have been joined under Rule 8(b), a district      ectly contradicts it and because the Gov-
  court should grant a severance under Rule         ernment would impeach Mr. Small's testi-
  14 only if there is a serious risk that a joint   mony with his extensive list of prior con-
  trial would compromise a specific trial           victions. As such, the court concluded, Mr.
  right of one of the defendants, or prevent        Hall would not be prejudiced by the ab-
  the jury from making a reliable judgment          sence of Mr. Small's testimony “because its
  about guilt or innocence.” Zafiro, 506 U.S.       exculpatory value would be effectively nul-
  at 539, 113 S.Ct. 933. “Inasmuch as sever-        lified.” Finally, the District Court ob-
  ance is a matter of discretion and not of         served that a joint trial was in the interests
  right, the defendant must bear a heavy bur-       of judicial economy because the exact
  den of showing real prejudice to his case.”       same witnesses and exhibits would be ne-
  United States v. McConnell, 749 F.2d              cessary in both trials. We agree. The Dis-
  1441, 1444 (10th Cir.1984)                        trict Court did not abuse its discretion by
                                                    denying Mr. Hall's motion to sever.
  In McConnell, this Court laid out seven
  factors relevant to evaluating Mr. Hall's
  claim that the District Court's failure to        3. Motion to exclude co-conspirators' out-
  sever his trial prevented him from present-       of-court statements.
  ing exculpatory evidence from Mr. Small:
                                                    Both Mr. Hall and his co-defendants filed a
    1) the likelihood that the co-defendant         motion in limine to exclude the admission
    would in fact testify at the movant's           of co-conspirators' statements that were
    severed trial and waive his Fifth Amend-        captured in the form of wiretap recordings.
    ment privilege; 2) the significance of the      The District Court denied the motion. Al-
    testimony in relation to the defendant's        though hearsay statements are generally
    theory of defense; 3) the exculpatory           not admissible at trial, seeFed.R.Evid. 802,
    nature and effect of such testimony; 4)         “a statement by a coconspirator of a party
    the likelihood that the co-defendant's          during the course and in furtherance of the
    testimony would be impeached; 5) the            conspiracy” is not hearsay, and is therefore
    extent of prejudice caused by the absence       admissible as substantive evidence against
    of the testimony; 6) the effect of a sever-     the party, Fed.R.Evid. 801(d)(2)(E). For a
    ance on judicial administration and eco-        statement to be admissible under
    nomy; 7) the timeliness of the motion.          Fed.R.Evid. 801(d)(2)(E), the District
                                                    Court must first find the following ele-
  Id. at 1445; see also United States v. Mar-       ments by a preponderance of the evidence:
  tinez, 76 F.3d 1145, 1152 (10th Cir.1996).        “(1) that a conspiracy existed; (2) that the
  The District Court considered these factors       declarant and the defendant were both
  and found Mr. Hall's timely motion                members of the conspiracy; and (3) that the
  “completely without merit.” The court as-         statements *1303 were made in the course




                 © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 13 of 25
  473 F.3d 1295                                                                         Page 12
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  of and in furtherance of the conspiracy.”        against him; nor does he provide citations
  United States v. Sinclair, 109 F.3d 1527,        to the record where these statements might
  1533 (10th Cir.1997). After a two-day            be found. SeeTenth Cir. R. 28.2(C)(2),
  hearing on the motion, during which the          (3)(a). “Due to these failures, this court
  Government submitted a detailed descrip-         cannot even attempt to assess the merits of
  tion of the evidence it would present at trial   his argument.”     United States v. Mc-
  to demonstrate the existence of the conspir-     Clatchey, 217 F.3d 823, 835-36 (10th
  acy and the individual defendants' particip-     Cir.2000). As such, the issue is waived. Id.
  ation in the conspiracy, the court found by      at 836.FN3
  a preponderance of the evidence that each
  element of the above test was satisfied and             FN3. Mr. Hall also suggests in his
  provisionally admitted the evidence.FN2                 reply brief that it was the District
  We review the admission of evidence for                 Court's provisional ruling prior to
  an abuse of discretion and “we will not dis-            trial that was in error because it al-
  turb an evidentiary ruling absent a distinct            lowed the Government to make
  showing that it was based on a clearly erro-            broad assertions about the defend-
  neous finding of fact or an erroneous con-              ants' roles in the conspiracy. He
  clusion of law or manifests a clear error in            concedes, however, that “no
  judgment.” United States v. Dowlin, 408                 [c]o-conspirator made a statement
  F.3d 647, 659 (10th Cir.2005) (alteration               [at trial] directly implicating [Mr.
  and quotation omitted).                                 Hall].” Ap. Reply Br. at 10.
                                                          Moreover, Mr. Hall fails to provide
         FN2. In admitting the evidence on a              relevant record citations and cites
         provisional basis, the District Court            no authority for his theory that this
         explained that if the Government's               objection to the provisional ruling
         proof at trial failed to conform to its          constitutes a valid basis for reversal
         proffered evidence, the defendants               under Fed.R.Evid. 801(d)(2)(E).
         remained free to move for appropri-              This argument is waived.
         ate sanctions, including mistrial.
                                                   4. Motion to exclude firearms evidence ad-
  Although his brief is not entirely clear on      mitted as “tools of the trade.”
  this point, Mr. Hall appears to argue that
  because the wiretap conversations between        [4] Mr. Hall maintains the District Court
  him and Mr. Small included the use of            erred in admitting into evidence, as “tools
  “code words” to conceal their criminal           of the drug trade,” an unloaded shotgun
  dealings, and because the Government             and various ammunition (but no shotgun
  presented no expert witness to interpret         shells) that were discovered during the exe-
  those words, the District Court could not        cution of a search warrant at Mr. Hall's res-
  have properly found that a criminal con-         idence. The ammunition was discovered in-
  spiracy existed, that Mr. Hall participated      side Mr. Hall's house, while the shotgun
  in it, or that the statements were made in       was discovered in an inoperable car parked
  the course of and in furtherance of the con-     outside his residence. Citing Fed.R.Evid.
  spiracy. But Mr. Hall fails to specifically      403, Mr. Hall argued to the District Court
  identify any co-conspirator hearsay state-       that the probative value of this evidence is
  ments that were actually admitted at trial       far outweighed by the danger of unfair pre-
                                                   judice. Specifically, he contended that the




                © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 14 of 25
  473 F.3d 1295                                                                       Page 13
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  Government could not link Mr. Hall to the      more, the video surveillance and wiretaps
  shotgun because it was seized from an          revealed that Mr. Hall frequently returned
  abandoned car while Mr. Hall was asleep        to his residence immediately after negotiat-
  in his bedroom; there were no fingerprints     ing drug transactions over the phone with
  on the gun; there was no evidence that         Mr. Small. The Government also pointed
  drug-dealing ever went on in his home; no      out that in addition to the weapons-related
  shotgun shells were discovered during the      evidence, the police recovered other “tools
  search; and the search was executed ap-        of the trade” in their search-namely, $2,700
  proximately a week after the last date of      in cash and two scales that were found to
  *1304 the conspiracy alleged by the Gov-       have residue of cocaine on them. Based on
  ernment. Mr. Hall also notes that he was       the foregoing, we find no abuse of discre-
  not charged with a firearms offense.           tion in the District Court's decision to ad-
                                                 mit this evidence.
  [5] Some items like “firearms, large sums
  of cash, weighing scales, and uncharged
  quantities of illegal drugs” are generally     B. Motion for a New Trial Based on Juror
  viewed as “tools of the trade”-“that is,       Misconduct
  means for the distribution of illegal
                                                 [6] On the fifth day of trial, one of the jur-
  drugs.” United States v. Martinez, 938
                                                 ors advised the District Court that she had
  F.2d 1078, 1083 (10th Cir.1991). As such,
                                                 overheard defense counsel talking about
  these items are probative of a defendant's
                                                 the case outside the courtroom. The Dis-
  participation in the drug distribution busi-
                                                 trict Court questioned the juror on the re-
  ness. Id. The Government is not required to
                                                 cord about what she heard. She revealed
  prove that the firearms or ammunition were
                                                 that she heard counsel talking about Mr.
  used for a particular transaction in order
                                                 Hall and one of his co-defendants, Alvin
  for the evidence to be probative. That the
                                                 Green, and that they mentioned “the gun
  police did not uncover the items until after
                                                 wasn't found until after they searched for
  the charged conspiracy was alleged to have
                                                 the drugs.” She further admitted telling at
  ended does not mean that they were not in-
                                                 least two other jurors about overhearing the
  volved in the ongoing conspiracy before it
                                                 conversation, although she testified that
  ended. Furthermore, “[i]t is basically im-
                                                 she did not tell them the substance of what
  material to the admissibility inquiry in
                                                 she heard. The juror was excused, but the
  cases like these whether the accused has
                                                 District Court declined defense counsels'
  been charged with an offense directly re-
                                                 request to question the other jurors about
  lated to his or her possession of a ‘tool of
                                                 what they knew. Mr. Hall maintains that
  the trade.’ ”Martinez, 938 F.2d at 1083.
                                                 the District Court committed reversible er-
  Though the shotgun was found in an aban-       ror by failing to question jurors concerning
  doned car, the gun itself was oiled,           their potential exposure to remarks over-
  cleaned, and spotless. It was sitting on top   heard by another juror who was sub-
  of other items in the car and it was easily    sequently excused.
  accessible to Mr. Hall because the car, a T-
                                                 We review a district court's decision re-
  top, was right outside the backdoor and one
                                                 garding juror misconduct or bias for an ab-
  could grab the gun simply by reaching
                                                 use of discretion. Small, 423 F.3d at 1181.
  down through the roof of the car. Further-
                                                 Mr. Green appealed the District Court's ac-




                © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 15 of 25
  473 F.3d 1295                                                                          Page 14
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  tions as they related to this issue and this      fatal variance between the Government's
  Court concluded that “[g]iven that there is       theory of the conspiracy and the evidence
  absolutely no evidence that any prejudicial       against him in that Mr. Hall had not been
  information reached the remainder of the          recently released from prison and he was
  jury, the district court did not abuse its dis-   never “fronted” drugs by Mr. Small.
  cretion in denying defense counsels' re-
  quest to question the other jurors.” Id.          Even assuming that the Government's the-
  There is no material difference between           ory of the case, not contained in the indict-
  Mr. Green's and Mr. Hall's challenge.             ment, could be the basis for reversing a
  Therefore, the prior decision by this Court       conviction if the evidence against the de-
  is controlling.                                   fendant varied from the proffered theory,
                                                    we would not do so in this case. The Gov-
                                                    ernment's theory of the conspiracy was that
  *1305 C. Variance in the Conspiracy               it was dependent on the distributors being
  Charge                                            at different stages in the process of estab-
                                                    lishing their illegal businesses. This aspect
  [7][8][9] Count One of the second super-
                                                    of the conspiracy was crucial for Mr. Small
  ceding indictment charged Mr. Hall and
                                                    to be able to front drugs to newly released
  several others with conspiracy to distribute
                                                    felons who could not pay for their drugs in
  and possession with intent to distribute
                                                    advance. That Mr. Hall was not a recently
  crack-cocaine. Mr. Hall contends that there
                                                    released felon and that he had an estab-
  was a prejudicial variation between the
                                                    lished business and did not need Mr. Small
  evidence presented at trial and the conspir-
                                                    to front him drugs is not inconsistent with
  acy alleged by the Government. A variance
                                                    the Government's theory of the case. As
  occurs when the conspiracy charged in an
                                                    such, we reject this claim.
  indictment is different from the evidence
  adduced at trial. United States v. Windrix,
  405 F.3d 1146, 1153 (10th Cir.2005). But          D. Prosecutorial Misconduct During Clos-
  not every variance requires reversal of a         ing Arguments
  conviction-a variance is only reversible “if
  it affects the substantial rights of the ac-      Mr. Hall argues he was denied due process
  cused.” Id.                                       because of various improper comments that
                                                    the prosecutor made during her closing ar-
  Importantly, Mr. Hall does not contend that       gument. Because no objection was made at
  the evidence adduced at trial did not sup-        the time, we review for plain error, and
  port the conspiracy as charged in the in-         will reverse “only if, after reviewing the
  dictment. Rather, he contends that the evid-      entire record, we conclude that the error is
  ence as it related to him did not conform to      obvious and one that would undermine the
  the Government's “hub-and-spokes” theory          fairness of the trial and result in a miscar-
  of the conspiracy. As noted above, the            riage of justice.” United States v. Gonza-
  Government's overarching theory of the            lez-Montoya, 161 F.3d 643, 650 (10th
  conspiracy was that Mr. Small would re-           Cir.1998) (quotation omitted); see also
  cruit recently released felons and front          United States v. Visinaiz, 428 F.3d 1300,
  them drugs until they had enough business         1311 (10th Cir.2005) (“Plain error must be
  that they could pay for the drugs in ad-          so ‘egregious' as to result in a ‘miscarriage
  vance. Mr. Hall contends that there was a         of justice.’ ”). “We review the prosecutor's




                 © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 16 of 25
  473 F.3d 1295                                                                        Page 15
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  comments within the context of the entire       misrepresented that Mr. Hall was video-
  case.” Visinaiz, 428 F.3d at 1311.              taped meeting with Mr. Small and Mr.
                                                  Green on May 18, 2001. At trial, a police
  [10] Mr. Hall first objects to the prosec-      officer testified that he saw a white pick-up
  utor's “translation” of certain “code words”    truck arrive at Mr. Small's apartment and
  the defendants used in conducting their         that the occupant went inside the apart-
  drug deals. During the trial, the Govern-       ment. He also testified that he had written
  ment presented the testimony of parti-          in his surveillance logs for that day that the
  cipants in several of the recorded conversa-    pick-up truck “belongs to” Mr. Hall. A re-
  tions as to the meaning of various “code        view of the testimony regarding this video,
  words” used during the drug transactions.       taken as a whole, offers sufficient support
  None of these witnesses testified as to the     for the prosecutor's discussion of the events
  meaning of the words in the context of Mr.      during closing arguments, and we conclude
  Hall's conversations with Mr. Small. Mr.        there is no basis for reversal under plain er-
  Hall therefore argues that the lack of testi-   ror review. See id.
  mony supporting the prosecutor's com-
  ments during closing argument *1306             [11] Finally, Mr. Hall argues that the pro-
  amounts to prosecutorial misconduct. We         secutor misstated the evidence regarding
  disagree.                                       the items recovered from the search at Mr.
                                                  Hall's residence. Specifically, he calls at-
  The particular portion of the prosecutor's      tention to the fact that the prosecutor re-
  remarks discussing these “code words” was       ferred to “guns” though only one gun was
  not in reference to specific recorded con-      found during the search. In context,
  versations between Mr. Hall and Mr.             however, it is clear that the prosecutor's
  Small. Rather, the comments refer gener-        reference to “guns” included those guns re-
  ally to terminology common to some of the       covered at Mr. Small's residence as well.
  recorded conversations. The prosecutor did      Mr. Hall also complains that the prosecutor
  not specifically address Mr. Hall until later   said that “[t]here wasn't a big amount of
  in her closing argument and she did not         dope found at [Mr. Hall's] house” and then
  seek to explain any of the conversations        suggested that perhaps he had hid it. Mr.
  between Mr. Hall and Mr. Small by use of        Hall notes that no drugs were found in his
  coded language. To the extent that the pro-     residence-save the cocaine residue on the
  secutor's general discussion of code words      scales-and there was no evidence at trial
  had anything to do with the evidence            that he hid any drugs. It is clear that the
  against Mr. Hall, given the context of the      prosecutor was entreating the jury to not
  entire trial, this does not constitute          acquit on the conspiracy charge merely be-
  “egregious” misconduct resulting in a mis-      cause the police failed to recover drugs
  carriage of justice. See United States v.       from Mr. Hall's house. “The prosecutor is
  Dazey, 403 F.3d 1147, 1171 (10th                entitled to argue to the jury that it should
  Cir.2005) (holding various improper state-      draw reasonable inferences from the evid-
  ments made during closing argument were         ence to support the government's theory of
  not sufficiently egregious or prejudicial to    the case.”     Id. at 1170. In any event,
  warrant reversal under plain error standard     neither of these comments were so
  of review).                                     “egregious” as to warrant reversal. See id.
                                                  at 1171.
  Mr. Hall also argues that the prosecutor




                © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 17 of 25
  473 F.3d 1295                                                                        Page 16
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  E. Sufficiency of the Evidence on the Pos-      wishes to purchase. In the next phone call,
  session Charge                                  the pair agree to meet the following morn-
                                                  ing, April 7. They speak again on April 7
  [12] Mr. Hall argues that there was insuffi-    when they agree to “do two for ... sixteen”
  cient evidence to support his conviction on     (meaning two ounces for sixteen hundred
  Count Forty-Nine of the indictment, which       dollars). Video surveillance on April 7,
  charged that “[o]n or about April 7, 2001”      shortly after the last telephone call, showed
  Mr. Hall “knowingly distributed and pos-        one man exiting a white pick-up truck and
  sessed with intent to distribute ... cocaine    briefly entering Mr. Small's car. While
  base” and intentionally aided and abetted       watching the video at trial, City of Aurora
  the same. To convict Mr. Hall of this           Police Officer Steven Stanton identified
  charge, the Government was required to          Mr. Hall as the man who entered Mr.
  prove, at a minimum, that he “(1) pos-          Small's car.
  sessed the controlled substance; (2) knew
  he possessed the controlled substance; and      We confronted a similar factual scenario in
  (3) intended to distribute or dispense the      United States v. Baggett, 890 F.2d 1095
  controlled substance.” United States v.         (10th Cir.1989). In that case, the defendant
  Bowen, 437 F.3d 1009, 1014 (10th                was charged with possession of heroin un-
  Cir.2006) (quotation omitted). Mr. Hall ar-     der 21 U.S.C. § 844(a). Similar to this case,
  gues that the Government failed to *1307        the evidence that the defendant possessed
  prove that he possessed crack-cocaine be-       the drugs in question on the day listed in
  cause no law enforcement officer ever test-     the indictment included three recorded
  ified that they saw Mr. Hall with the drug      phone calls made by the defendant to a sus-
  on April 7; nor were there any witnesses        pected drug dealer during which she ar-
  who testified they received the drug from       ranged to purchase cocaine and heroin. Id.
  Mr. Hall.                                       at 1096. Also during the call, the defendant
                                                  arranged to meet the dealer at a specified
  The Government did not introduce into           time and place. Id. Police officers then sur-
  evidence crack-cocaine related to the al-       veilled the area and saw the drug dealer
  leged April 7 transaction; eyewitness testi-    meeting with a “white female” driving a
  mony or video surveillance evidence put-        car registered to the defendant. Id. No wit-
  ting Mr. Hall in possession of crack-co-        ness observed a drug exchange between the
  caine on or around April 7; or testimony        two; nor did anyone testify to seeing the
  from any persons alleged to have pur-           defendant with any drugs that day. Id. at
  chased crack-cocaine from Mr. Hall on or        1097. The transaction was alleged to have
  about that date. The evidence related to this   taken place when the defendant briefly
  count of conviction included the transcripts    entered the drug dealer's car. Id. at 1096.
  of three telephone calls made between Mr.       The defendant later admitted to using
  Hall and Mr. Small on April 6 and April 7       heroin around the time alleged in the in-
  purporting to orchestrate a drug transac-       dictment. Id. We held that the evidence
  tion. During the first call, the two discuss    was insufficient to establish that the de-
  the price of drugs. Mr. Hall seeks to buy       fendant possessed heroin. Id.
  “four” but not at the price at which Mr.
  Small is willing to sell them. “Four” refers    We acknowledged that “[i]t is not neces-
  to the number of ounces of drugs Mr. Hall       sary that the Government have direct evid-




                © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 18 of 25
  473 F.3d 1295                                                                        Page 17
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  ence to support a conviction for posses-         sion such that a jury may properly infer the
  sion,”id., but explained that where “the         specific drug was actually possessed.
  Government fails to seize and analyze the
  chemical composition of the alleged nar-         In United States v. Bryce, 208 F.3d 346 (2d
  cotic substance, there must be enough cir-       Cir.1999), the Second Circuit similarly re-
  cumstantial evidence to support an infer-        versed a defendant's conviction for posses-
  ence that the defendant actually did possess     sion when the only evidence of the charge
  the drugs in question,”id. We noted that         were his phone calls made purporting to
  such evidence may include the following:         sell the drug. As in this case, federal law
                                                   enforcement officers investigated several
    [E]vidence of the physical appearance of       individuals suspected of narcotics traffick-
    the substance involved in the transaction,     ing. On August 5 and 6, 1997, officers in-
    evidence that the substance produced the       tercepted telephone calls between the de-
    expected effects when sampled by               fendant and others during which the de-
    someone familiar with the illicit drug,        fendant used coded phrases to arrange a
    evidence that the substance was used in        sale of powder cocaine. Id. at 349.FN4 He
    the same manner as the illicit drug, testi-    was later arrested and charged with con-
    mony that a high price was paid in cash        spiracy to possess and actual possession
    for the substance, evidence that transac-      with intent to distribute cocaine on August
    tions involving the substance were car-        5 and 6. Id.
    ried on with secrecy or deviousness, and
    evidence that the substance was called by             FN4. Unlike this case, the defend-
    the name of the illegal *1308 narcotic by             ant in Bryce was not seen meeting
    the defendant or others in her presence.              with either of the people with whom
                                                          he was purported to have sold drugs
  Id. (quoting United States v. Dolan, 544                on the dates in question.
  F.2d 1219, 1221 (4th Cir.1976))
  (alterations omitted).                           Though his conviction on the conspiracy
                                                   charge was affirmed, the Second Circuit re-
  On the evidence presented in Baggett, we         versed his conviction on the possession
  stated that “[i]f the prosecution is not going   charge. Citing this Court's opinion in Bag-
  to present direct evidence of drug posses-       gett, the court noted that the prosecution
  sion, its circumstantial evidence must in-       did not introduce into evidence cocaine,
  clude some testimony linking defendant to        residue or paraphernalia; eyewitness testi-
  an observed substance that a jury can infer      mony or video surveillance putting the de-
  to be a narcotic.” Id. at 1097. The prosecu-     fendant in possession of cocaine, “or any
  tion in that case presented no evidence that     substance resembling cocaine,” on the rel-
  the defendant actually possessed a sub-          evant dates; or testimony from anyone al-
  stance and that the substance was a narcot-      leged to have purchased cocaine from the
  ic. While other courts have not gone so far      defendant on or around those dates. Id. at
  as to require that evidence include an           352. The defendant's uncorroborated, in-
  “observed substance that a jury can infer to     culpatory statements did not sufficiently
  be a narcotic,” there is little doubt that a     demonstrate that he possessed cocaine. Id.
  defendant's own inculpatory statements           at 356.
  captured on wiretaps must be corroborated
  by other circumstantial evidence of posses-      By contrast, in United States v. Sanchez




                © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 19 of 25
  473 F.3d 1295                                                                        Page 18
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  DeFundora, 893 F.2d 1173 (10th                  may be sufficient to establish that Mr. Hall
  Cir.1990), we upheld convictions for distri-    possessed crack-cocaine at some time, the
  bution of cocaine though no cocaine re-         indictment charged Mr. Hall with posses-
  lated to those counts was seized or admit-      sion and distribution on or about April 7,
  ted into evidence. In that case, the govern-    2001. None of this evidence shows that Mr.
  ment had presented testimony from a wit-        Hall possessed or distributed crack-cocaine
  ness who purchased cocaine from the de-         at that time.       SeeFed.R.Evid. 404(b)
  fendant on eight separate occasions-those       (“Evidence of other crimes, wrongs, or acts
  eight transactions became the basis for         is not admissible to prove the character of a
  eight counts of distribution against the de-    person in order to show action in conform-
  fendant; she testified that she tried the co-   ity therewith); see also Bryce, 208 F.3d at
  caine and that when she ingested it “it af-     352 (evidence that defendant possessed
  fected her in the same way as cocaine had       narcotic at some other time does not prove
  affected her in the past.” Id. at 1176.         that he possessed it at the time specified in
  There was also corroborating testimony in       the indictment). In sum, we conclude that
  that the witness was able to resell the sub-    the Government's evidence is insufficient
  stance as cocaine and that law enforcement      to sustain the possession and distribution
  officers later seized a substance in the de-    conviction.
  fendant's possession that was determined to
  be cocaine, which we noted “lend[s] cre-
                                                             III. SENTENCING
  dence to the conclusion that the defendant
  was dealing in cocaine.” Id.                    The probation office prepared a Presen-
                                                  tence Report (“PSR”) that recommended a
  We see no meaningful difference between
                                                  total offense level of 40 and a criminal his-
  the evidence of possession of heroin in
                                                  tory category of III, resulting in an advis-
  Baggett and the evidence of Mr. Hall's
                                                  ory Guidelines imprisonment range of 360
  *1309 possession of crack-cocaine here.
                                                  months to life. The probation office calcu-
  The Government suggests that other evid-
                                                  lated Mr. Hall's offense level first by find-
  ence supports the jury's conclusion that Mr.
                                                  ing that a total of 4,495 grams of crack-
  Hall possessed crack-cocaine: (1) law en-
                                                  cocaine were attributable to Mr. Hall. See
  forcement officers intercepted a call on
                                                  U.S. Sentencing Guidelines Manual
  April 9, 2001 during which Mr. Hall seeks
                                                  (“U.S.S.G.”) § 2D1.1(a)(3) (instructing
  to buy powder cocaine from Mr. Small; (2)
                                                  courts to calculate offense level by refer-
  law enforcement officers intercepted a call
                                                  ence to drug quantity involved); U.S.S.G. §
  on April 10, during which Mr. Hall and
                                                  1B1.3(a) (the base offense level is determ-
  Mr. Small discuss how to cook powder co-
                                                  ined by reference to the quantity and type
  caine; (3) a witness testified that she de-
                                                  of drugs attributable to the defendant);
  livered cocaine (powdered or crack-she
                                                  United States v. Topete-Plascencia, 351
  was not sure which) to Mr. Hall at Mr.
                                                  F.3d 454, 459 (10th Cir.2003) (“[T]he dis-
  Small's request at some other time; and (4)
                                                  trict court may consider the amount of
  on June 7, law enforcement officers ex-
                                                  drugs the defendant knew or should have
  ecuted a search warrant at Mr. Hall's resid-
                                                  known were involved in the conspiracy in
  ence and found drug paraphernalia includ-
                                                  calculating a defendant's relevant conduct
  ing scales with cocaine residue on them
                                                  for purposes of a conspiracy conviction.”).
  and $2,700 in cash. While this evidence
                                                  This resulted in a base offense level of 38.




                © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 20 of 25
  473 F.3d 1295                                                                      Page 19
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  The probation office then added a two-         felony conviction-for which he was later
  point enhancement for Mr. Hall's posses-       pardoned-was twenty years old. Because of
  sion of a dangerous weapon (the shotgun),      the differences in criminal history, the
  pursuant to § 2D1.1(b)(1), resulting in a      court deemed that sentencing Mr. Hall
  total offense level of 40. The probation of-   within the applicable Guidelines range,
  fice then determined that Mr. Hall's crimin-   which would cause Mr. Hall to be sen-
  al history category was III based on a 1984    tenced for as long as the other defendants,
  conviction in Louisiana for felony armed       was unwarranted. It specifically cited its
  robbery, a 1990 misdemeanor conviction in      obligation to “avoid unwarranted sentence
  Colorado for driving while intoxicated, and    disparities among defendants with similar
  a 1991 conviction in California for being a    records who have been found guilty of sim-
  felon in possession of a firearm.              ilar conduct.” 18 U.S.C. § 3553(a)(6). The
                                                 District Court then sentenced Mr. Hall to
  Mr. Hall raised a number of objections to      151 months. The court explained how it ar-
  the PSR. At the sentencing hearing, the        rived at the sentence as follows:
  District Court concluded that only 392
  grams of crack-cocaine were attributable to      [I]f for criminal history purposes Mr.
  Mr. Hall. The court's finding, which yiel-       Hall had not been given criminal-history
  ded a base offense level of 34, seeU.S.S.G.      points for the armed robbery conviction
  § 2D1.1(c)(3), was based on the Govern-          and the felon-in-possession conviction,
  ment's evidence of the specific calls and        he would only have one criminal history
  transactions where Mr. Hall was a direct         point[,] which would have placed him in
  participant. The District Court agreed with      criminal history category I. And the
  the probation officer that the two-point         range of incarceration for criminal his-
  weapon enhancement under § 2D1.1(b)(1)           tory category [I] is 151 to 188 months.
  applied, which resulted in a total offense       And the Court concludes that a sentence
  level of 36. Finally, the court determined       of 151 months is a fair, appropriate, and
  that the probation officer correctly determ-     reasonable sentence....
  ined Mr. Hall's criminal history category to
  be III. This produced an *1310 advisory        The following day, the Government filed a
  Guidelines sentencing range of 235 to 293      motion to correct the sentence pursuant to
  months.                                        Fed.R.Crim.P. 35(a) and 36, which permit
                                                 a court to “correct a sentence that resulted
  Next, the District Court considered the sen-   from arithmetical, technical, or other clear
  tencing factors provided under 18 U.S.C. §     error.”        Fed.R.Crim.P. 35(a); see
  3553(a). The court explained that five of      alsoFed.R.Crim.P. 36 (at any time, a court
  the seven defendants at trial were con-        may “correct a clerical error in a judgment,
  victed on the conspiracy charge and that       order, or other part of the record”). Be-
  four of them had received sentences of 240     cause the District Court's stated reasoning
  months to life imprisonment due to prior       for imposing the below-Guidelines sen-
  qualifying drug convictions. The court then    tence referred only to the criminal history
  noted that Mr. Hall's criminal history stood   portion of the Guidelines, the Government
  in stark contrast to those defendants be-      suggested that the court inadvertently mis-
  cause he had never been previously con-        read the sentencing table of the Guidelines,
  victed of a drug offense and his prior         seeU.S.S.G. § 5A: the advisory Guidelines




                © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 21 of 25
  473 F.3d 1295                                                                        Page 20
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  sentencing range for an offense level of 36     findings for clear error and its legal de-
  and a criminal history category of I is 188     terminations de novo. Id. at 1054.
  to 235 months, not 151 to 188 months. See
  id. The District Court denied the Govern-
                                                  A. Section 851 Information
  ment's motion, maintaining that there was
  no error.                                       [14] First, Mr. Hall contends that the Gov-
                                                  ernment could not seek an enhancement
  On appeal, Mr. Hall raises several chal-
                                                  based on his criminal history because it did
  lenges to his sentence. He contends that (1)
                                                  not file an information pursuant to 21
  the District Court lacked jurisdiction to en-
                                                  U.S.C. § 851. That provision provides:
  hance his sentence based on prior convic-
  tions because the Government failed to file      No person who stands convicted of an of-
  an information notifying Mr. Hall of its in-     fense under this part shall be sentenced to
  tent to seek an enhanced penalty as re-          increased punishment by reason of one or
  quired by 21 U.S.C. § 851(a)(1); (2) the         more prior convictions, unless before tri-
  District Court erred by attributing to him       al, or before entry of a plea of guilty, the
  drug quantities not found by the jury bey-       United States attorney files an informa-
  ond a reasonable doubt; (3) the District         tion with the court (and serves a copy of
  Court erred by enhancing his sentence for        such information on the person or coun-
  possession of a weapon that was neither          sel for the person) stating in writing the
  present during the offense nor otherwise         previous convictions to be relied upon.
  connected with the offense; and (4) the
  District Court erred in computing his crim-     21 U.S.C. § 851(a)(1). This statute only re-
  inal history score by including his             quires the Government to file an informa-
  pardoned conviction for armed robbery.          tion “in situations in which a defendant's
  The Government cross-appeals the sen-           statutory maximum or minimum is en-
  tence on the ground that the court's below-     hanced and not in situations where the de-
  Guidelines sentence is unreasonable. We         fendant's increased sentence under the
  address each contention in turn.                Guidelines is within the statutory range.”
                                                  United States v. Allen, 24 F.3d 1180, 1184
  [13] We review sentences imposed for            (10th Cir.1994) (alteration and quotation
  reasonableness. United States v. Kristl, 437    omitted); see also United States v. Flowers,
  F.3d 1050, 1053 (10th Cir.2006). “We re-        464 F.3d 1127, 1131 (10th Cir.2006)
  quire reasonableness in two respects-‘the       (explaining that § 851“impose[s] strict re-
  length of the sentence, as well as the meth-    quirements on the government before the
  od by which the sentence was                    government can seek an increase in the
  calculated.’*1311     ” United States v.        statutory mandatory maximum or minimum
  Lopez-Flores, 444 F.3d 1218, 1220 (10th         sentence ” (emphasis added)). The
  Cir.2006) (quoting Kristl, 437 F.3d at          Guidelines enhancements applied by the
  1055). A sentence cannot be considered          District Court had no effect on the statutory
  reasonable if the method by which it is cal-    maximum or minimum sentence applicable
  culated is unreasonable. Kristl, 437 F.3d at    to Mr. Hall. As such, the § 851 information
  1055. In determining whether the method         was not required.
  by which a sentence is calculated is reason-
  able, we review the district court's factual
                                                  B. The Drug Quantity




                © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 22 of 25
  473 F.3d 1295                                                                       Page 21
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  Mr. Hall raises two challenges to the use of    This argument is also without merit. “After
  drug quantity to enhance his sentence. He       Booker, a constitutional violation lies only
  first contends that he should have been sen-    where a district court uses judge-found
  tenced under 21 U.S.C. § 841(b)(1)(C),          facts to enhance a defendant's sentence
  rather than 21 U.S.C. § 841(b)(1)(A), be-       mandatorily under the [Guidelines], and
  cause he claims the indictment failed to        not where a court merely applies such facts
  specify the drug amount involved in the         in a discretionary manner.” United States
  crime. Indeed, we have held that “[a] dis-      v. Rodriguez-Felix, 450 F.3d 1117, 1130
  trict court may not impose a sentence in        (10th Cir.2006). Because the post-Booker
  excess of the maximum set forth in 21           Guidelines are discretionary, a district
  U.S.C. § 841(b)(1)(C)[,] [which is twenty       court may continue to find facts, including
  years,] unless the benchmark quantity of        drug quantity, by a preponderance of the
  cocaine base for an enhanced penalty is al-     evidence. See id. at 1130-31.
  leged in the indictment in addition to being
  submitted to the jury and proven beyond a       As noted above, the District Court found
  reasonable doubt.” United States v. Jack-       that 392 grams of crack-cocaine were at-
  son, 240 F.3d 1245, 1248 (10th Cir.2001),       tributable to Mr. Hall. Although he does
  overruled on other grounds by United            not say so explicitly, he appears to argue
  States v. Prentiss, 256 F.3d 971, 981 (10th     that the District Court's determination on
  Cir.2001). Contrary to Mr. Hall's asser-        this point was clearly erroneous. We find
  tions, however, the indictment did specify      no clear error in the District Court's de-
  the amount of drugs involved in the con-        termination. It relied on the Governments'
  spiracy. Count One of the second superced-      wiretap evidence in which Mr. Hall places
  ing indictment charged Mr. Hall with con-       various orders for crack-cocaine or
  spiring to distribute and to possess with in-   powdered cocaine with Mr. Small. There
  tent to distribute “a mixture and substances    was also evidence that Mr. Small and Mr.
  containing a detectable amount of cocaine       Hall met shortly after Mr. Hall placed the
  base ... weighing more than fifty grams.”       orders.
  And, in fact, the jury specifically found
  that the amount of crack-cocaine involved       C. The Weapons Enhancement
  in the conspiracy count was “50 grams or
  more.” As such, Mr. Hall's argument has         Mr. Hall first contends that the weapons
  no merit.                                       enhancement under § 2D1.1(b)(1) violates
                                                  his Sixth Amendment rights as stated in
  [15][16] He next contends that under Ap-        Apprendi, Blakely, and Booker, because a
  prendi v. New Jersey, 530 U.S. 466, 120         jury did not find, nor did he admit, facts
  S.Ct. 2348, 147 L.Ed.2d 435 (2000),             that would justify such an enhancement.
  Blakely v. Washington, 542 U.S. 296, 124        Again, Booker makes clear that judicial
  S.Ct. 2531, 159 L.Ed.2d 403 (2004), and         fact-finding by a preponderance of the
  *1312United States v. Booker, 543 U.S.          evidence standard is unconstitutional only
  220, 125 S.Ct. 738, 160 L.Ed.2d 621             when it operates to increase a defendant's
  (2005), the relevant quantity of drugs for      sentence mandatorily. See Rodriguez-Fe-
  sentencing purposes is no more than the         lix, 450 F.3d at 1130. Because the District
  quantity the jury found him to possess bey-     Court here indisputably applied the
  ond a reasonable doubt-that is, 50 grams.       Guidelines in a discretionary fashion, there




                © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 23 of 25
  473 F.3d 1295                                                                        Page 22
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  is no Sixth Amendment violation.               strate that it is “clearly improbable” that
                                                 the firearm was connected to his drug traf-
  [17][18][19] Next, Mr. Hall argues that the    ficking offense. He has failed to meet this
  enhancement should not have applied be-        burden.
  cause the Government did not show that he
  possessed the shotgun or that it was
  “present during the offense.” In applying      D. Consideration of a Pardoned Offense in
  this enhancement, the Government bears         Calculating Criminal History.
  the initial burden of proving possession of
                                                 [20] In calculating a defendant's criminal
  the weapon by a preponderance of the
                                                 history category, the Guidelines provide
  evidence. United States v. Williams, 431
                                                 that “[s]entences for expunged convictions
  F.3d 1234, 1237 (10th Cir.2005). “This
                                                 are not counted.”      U.S.S.G. § 4A1.2(j).
  burden is satisfied when the government
                                                 Mr. Hall received a pardon for his 1984
  demonstrates that a temporal and spatial re-
                                                 conviction for felony armed robbery from
  lation existed between the weapon, the
                                                 the State of Louisiana. He therefore con-
  drug trafficking activity, and the defend-
                                                 tends that this conviction, and his later con-
  ant.” Id. (internal quotation marks omit-
                                                 viction for being a felon in possession of a
  ted). Evidence that the weapon was found
                                                 firearm, should not be counted in calculat-
  in a location where drugs or drug
                                                 ing his criminal history.
  paraphernalia is stored establishes the ne-
  cessary showing. Id.“If the government         Application    Note   10    to    §   4A1.2(j)
  meets this initial burden, the burden shifts   provides:
  to the defendant to show that it is clearly
  improbable the weapon was connected with         Convictions Set Aside or Defendant
  the offense.” Id. at 1238 (internal quota-       Pardoned. A number of jurisdictions
  tion marks omitted); see alsoU.S.S.G. §          have various procedures pursuant to
  2D1.1 cmt. n. 3 (if the weapon is present,       which previous convictions may be set
  the adjustment should be applied “unless it      aside or the defendant may be pardoned
  is clearly improbable that the weapon was        for reasons unrelated to innocence or er-
  connected with the offense”).                    rors of law, e.g., in order to restore civil
                                                   rights or to remove the stigma associated
  The District Court's determination of the        with a criminal conviction. Sentences
  facts supporting the application of the en-      resulting from such convictions are to be
  hancement is not clearly erroneous. As dis-      counted. However, expunged convictions
  cussed, supra, in section II.A.4, the shot-      are not counted.
  gun was found in a car sitting right outside
  Mr. Hall's residence and easily accessible     U.S.S.G. § 4A1.2(j) cmt. n. 10.
  through the top of the vehicle. In addition,
  other drug paraphernalia was found at the      Mr. Hall received a first offender pardon
  house, including scales with cocaine           pursuant to La.Rev.Stat. Ann. § 15:572,
  residue on them. These facts establish the     which operates to restore “all rights of cit-
  necessary temporal and spatial relationship    izenship.”        SeeLa.Rev.Stat. Ann. §
  between the weapon, the drug trafficking       15:572(b)(1) (“A first offender never previ-
  activity, and Mr. Hall. Accordingly, the       ously convicted of a felony shall be
  burden shifts to Mr. Hall to *1313 demon-      pardoned automatically upon completion of
                                                 his sentence....”). However, as the Louisi-




                © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 24 of 25
  473 F.3d 1295                                                                         Page 23
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  ana Supreme Court and the letter submitted      substantive components.” United States v.
  by Mr. Hall from the Louisiana Depart-          Cage, 451 F.3d 585, 591 (10th Cir.2006).
  ment of Public Safety and Corrections ac-       “To be reasonable, a sentence must be
  knowledges, such pardons do not restore a       ‘reasoned,’ or calculated utilizing a legit-
  felon's right to possess firearms. See State    imate method.” Id. Ordinarily, any proced-
  v.    West,     754    So.2d     408,    410    ural irregularity in calculating the sentence
  (La.App.2000). There is nothing to suggest      occurs when the district court determines
  that Mr. Hall's pardon, which is granted as     the applicable Guidelines range.          See
  a matter of course to first time offenders,     id.(stating that sentences based on a misap-
  was in any way related to innocence or an       plication of the Guidelines are procedurally
  error of law. Indeed, the letter he submits     unreasonable). Here, however, the Govern-
  as evidence of the pardon indicates that his    ment claims that the District Court com-
  right “to receive, possess or transport fire-   mitted a procedural*1314 error in its ap-
  arms” was unaffected by the pardon.             plication of the § 3553(a) sentencing
  Therefore, the conviction was properly          factors to fashion a below-Guidelines sen-
  counted in assessing his criminal history,      tence. We now hold that such an error in
  as was his felon-in-possession conviction,      applying those factors renders the resulting
  for which the armed robbery was the pre-        sentence unreasonable.
  dicate felony.FN5
                                                  [23] Although we have never required a
         FN5. Mr. Hall suggests, without ar-      district court to recite any “magic words”
         gument or citation to authority, that    to show that it has fulfilled its obligation to
         the Guidelines' distinction between      be mindful of the factors Congress has in-
         sentences expunged because of in-        structed it to consider in § 3553(a), we
         nocence or errors of law and par-        have nevertheless required the court to give
         dons unrelated to those factors viol-    reasons for imposing a particular sentence.
         ates the Equal Protection Clause         United States v. Sanchez-Juarez, 446 F.3d
         and the Due Process Clause of the        1109, 1115-16 (10th Cir.2006) (citing 18
         Fourteenth Amendment, as well as         U.S.C. § 3553(c)). As such, when a district
         the Eighth Amendment's prohibition       court fails to consider a defendant's non-
         of cruel and unusual punishment.         frivolous argument that a variance from the
         Because Mr. Hall fails to meaning-       Guidelines is warranted under § 3553(a),
         fully develop these arguments, we        for example, the failure renders the sen-
         will not address them on appeal.         tence procedurally unreasonable such that
           See United States v. Banks, 451        resentencing is required.          See id. at
         F.3d 721, 728 (10th Cir.2006)            1117-18. Meaningful appellate review of
         (declining to address on appeal an       the length of a sentence requires this result
         issue unsupported by legal argu-         because “[a] district court's explanation” of
         ment or authority).                      the reasons for a sentence “will assist us in
                                                  our determination of whether” a sentence is
  E. Consideration of the § 3553(a) Senten-       substantively reasonable. See id. at 1117.
  cing Factors
                                                  It may be that the 151-month sentence the
  [21][22] We now consider the Govern-            District Court imposed in this case would
  ment's cross-appeal. As noted above,            be substantively reasonable. But in impos-
  “[r]easonableness has both procedural and




                © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
Case No. 1:01-cr-00214-RM Document 3636-1 filed 09/29/08 USDC Colorado pg 25 of 25
  473 F.3d 1295                                                                       Page 24
  473 F.3d 1295, 72 Fed. R. Evid. Serv. 330




  ing such a sentence, the District Court ex-      doing so, we in no way intend to express
  pressly tethered its ruling to its determina-    an opinion in regard to what the ultimate
  tion of the applicable Guidelines range,         sentence should be.
  which it had already calculated based on an
  offense level of 36 and a criminal history
                                                              IV. CONCLUSION
  category of III. The only reason the court
  proffered for its determination that Mr.         We REVERSE Mr. Hall's conviction for
  Hall's sentence should be lower than the         possession and distribution of crack-co-
  applicable Guidelines range and that of his      caine under 21 U.S.C. § 841(a)(1) for in-
  co-defendants was that he had a comparat-        sufficiency of the evidence. We AFFIRM
  ively mild criminal history. The court           Mr. Hall's conviction for conspiracy under
  made no mention of the offense character-        21 U.S.C. § 846. We further hold that
  istics. Yet in fashioning a sentence that        though the District Court correctly applied
  takes the § 3553(a) factors into account,        the Guidelines, the sentence was neverthe-
  the court consulted the Guidelines and cal-      less*1315 procedurally unreasonable. We
  culated a hypothetical Guidelines sentence       therefore REMAND for resentencing.
  based not only on a lower criminal history
  category (I instead of III), but also based      C.A.10 (Colo.),2007.
  on a lower offense level (34 instead of 36).     U.S. v. Hall
  Generally, when “a sentence that varies          473 F.3d 1295, 72 Fed. R. Evid. Serv. 330
  from the advisory Guidelines range is nev-
  ertheless tethered to the Guidelines them-       END OF DOCUMENT
  selves [by, taking into account, e.g., crim-
  inal history, offense characteristics, and of-
  fense levels], we will likely consider this a
  reasonable methodology.” United States
  v. Bishop, 469 F.3d 896, 907 (10th
  Cir.2006). Here, however, the court effect-
  ively ignored the instant offense's charac-
  teristics as computed in the offense level.
  The range supported by the District Court's
  sentencing rationale-with a criminal history
  of I and offense level of 36-is in fact 188 to
  235 months incarceration. SeeU.S.S.G. §
  5A. We cannot countenance the court's
  methodology without any explanation as to
  why such a determination was made.
  Having concluded that the reasoning
  provided by the District Court for the be-
  low-Guidelines sentence is procedurally
  deficient, we remand to the District Court
  with instructions to vacate Mr. Hall's sen-
  tence and to resentence Mr. Hall in a man-
  ner not inconsistent with our discussion. In




                © 2008 Thomson Reuters/West. No Claim to Orig. US Gov. Works.
